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FD-302 (Rev. 5-8-10)

                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       07/13/2021



           On 06/04/2021, RYAN TAYLOR NICHOLS (hereafter NICHOLS), date of birth
        (DOB) 12/06/1990, Social Security Number (SSN) XXX-XX-XXXX, residence 110
        Lacebark Lane, Longview, TX 75605, was interviewed at the FBI's Washington
        Field Office located at 601 Fourth Street NW Washington, D.C., by Special
        Agent Michael D. Brown and Task Force Officer Jeff Pengelly. Also in
        attendance were Assistant United States Attorney Brittany Keil and NICHOLS
        attorneys Buck Files and J. Brett Harrison. After being advised of the
        identities of the interviewing Agent and detectives, and the nature of the
        interview, NICHOLS provided the following information:

           At the start of the interview, at approximately 1000 hours, NICHOLS was
        provided with a proffer memorandum to read and review with his attorneys. He
        agreed to the terms of the memorandum and signed the document. A copy of the
        form can be found in the separate serial in this case file. Furthermore,
        NICHOLS was informed if he needed to confer with his attorney at any time,
        to inform the interviewing agents.

           The interview began at approximately 1015. At that time, NICHOLS stated
        he believed that the election was stolen from President Trump based on
        information that he was exposed to in the news and social media. He
        specifically mentioned hearing statements made by President Trump, Rudy
        Giuliani, Sidney Powell, General Michael Flynn, and Lin Wood that helped him
        form his opinion. Additionally, NICHOLS admitted to following a local "Stop
        the Steal" social media group. So, NICHOLS was compelled to attend the
        "Stop the Steal" rally in Washington, D.C. on 01/06/2021. He asked his
        friend ALEX HARKRIDER and others if they wanted to go. HARKRIDER agreed to
        attend with NICHOLS.

           They arrived in Virginia on 01/05/2021. NICHOLS and HARKIDER each
        brought two guns and ammo. He stated he built a container for the guns and
        had separate ammo boxes. NICHOLS elaborated stating this allowed him to




   Investigation on    06/04/2021           at   Manassas, Virginia, United States (In Person)

   File #   176-WF-3366759-Nichols, 266H-DL-3370237                                                                          Date drafted    06/11/2021

   by   BROWN MICHAEL DAVID
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          store the guns and ammo in separate areas in the vehicle. In addition,
          NICHOLS mentioned they brought ten round magazines and they never
          brought the guns into Washington, DC. NICHOLS also acknowledged he brought
          a plate carrier and other items to the rally because he wanted to prepared
          if something bad were to happen.

             After arriving in Virginia, NICHOLS and HARKRIDER saw an RSVP invitation
          for the rally that was occurring at the Ellipse on 01/06/2021. So, NICHOLS
          and HARKRIDER decided to take an UBER into Washington, D.C. to see where the
          Ellipse was located and also see the monuments in the city (Writers Note:
          NICHOLS stated that over the course of the trip they used the UBER accounts
          belonging to himself or HARKRIDER). When they arrived in Washington, D.C.
          they walked around with other people in vicinity of the White House.
          NICHOLS stated he followed a group of people that walked to the back of the
          White House. There he observed what appeared to be a BLM protest and was
          there for approximately 1-2 hours. NICHOLS stated this was the first
          protest he had ever seen and was recording it on his Go Pro camera and
          streaming on Facebook Live (Writers Note: NICHOLS stated he recorded on
          01/05/2021 and 01/06/2021). NICHOLS thought the recording would show to
          others what occurred. NICHOLS said he was quiet initially at the
          BLM protest, until he saw an officer escort a BLM member. At that time
          people surrounded the group and they began antagonizing each other. As a
          result the crowd became increasingly hostile. NICHOLS noted he made some
          disparaging comments, but never made any physical contact with law
          enforcement.

             Prior to coming to Washington, D.C., NICHOLS stated he had never been to
          a protest. Like many others, NICHOLS believed the election was stolen and
          wanted to compel Vice President Michael Pence to not certify the election.
          NICHOLS further explained the protest was peaceful for approximately 30-45
          minutes, but once they moved towards the U.S. Capitol that it got violent.
          He recalled a specific instance of an older unidentified lady getting hit by
          law enforcement. NICHOLS stated the crowd got more violent and he
          remembered walking up the stairs of the U.S. Capitol and being on the
          stage. Additionally, he recalled that there were explosions and what he
          thought was pepper spray being utilized. NICHOLS said he did not initially
          realize that this action was taken by police officers to hold back the
          crowd. Also, NICHOLS said he was sprayed by what appeared to be pepper
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          spray around this timeframe He explained that this upset him and in
          retaliation he sprayed an unidentified canister of what appeared to be a
          pepper spray in the direction of law enforcement officers (Writers Note:
          NICHOLS stated that there was a canister being passed around in the crowd of
          what appeared to be pepper spray. When it was passed to him, NICHOLS
          sprayed it and then passed it on). Shortly after, NICHOLS stated that he
          wanted to get inside the U.S. Capitol and that he went through a window. He
          noted he was in the U.S. Capitol for approximately 10-15 minutes. NICHOLS
          also admitted to speaking on a bullhorn for a few minutes and having a
          microphone put in his face. Around this time is when NICHOLS took out the
          crowbar that he brought as a prop. He stressed that he did not use it in an
          offensive/defensive manner while he was at the U.S. Capitol.

             NICHOLS stated that he also observed a uniformed officer being drug
          outside of the U.S. Capitol on the stairs. He was approximately 5-10 feet
          away from the officer while he was curled up on the stairs. NICHOLS stated
          he overheard someone say "take his gun and kill him." NICHOLS along with
          others attempted to assist the officer and curtail the violent crowd.

              When asked if he destroyed evidence, NICHOLS stated he had deleted
          Facebook and pictures from inside the U.S. Capitol. He also said he deleted
          a Veterans group he was on with HARKRIDER. NICHOLS explained he was
          paranoid because numerous people were getting arrested for their
          participation in the U.S. Capitol riots and his family were receiving
          threats because people knew that he was at the U.S. Capitol. NICHOLS also
          noted that he had burned the clothes he was wearing and returned a the plate
          carrier he had worn to TREY WOLF.

             NICHOLS was also asked what communications devices he used. He
          acknowledged he used Telegram and Signal applications. NICHOLS further
          noted he was on a Zello group he had some conversation on. NICHOLS said he
          and HARKRIDER also had Garmin two-way handheld radios while they were in
          Washington, D.C. NICHOLS was also asked if he was in contact with any
          organization that was involved in the riots that occurred on 01/06/2021. He
          stated he was not part of any organization.

             NICHOLS acknowledged what he did was wrong. He stated he regretted going
          to Washington, D.C. and wished he had not gone. He further stated he no
          longer trusted the president or other prominent legal leaders because he
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          felt they had led him in the wrong direction. Furthermore, he stated he had
          no intent to go into the U.S. Capitol, but got caught up in the moment as
          the situation became more volatile. He also noted while in the U.S. Capitol
          he realized he had made an error in judgement which prompted him to leave.
          This was reinforced by a call HARKRIDER received from his father stating
           someone had been shot in the U.S. Capitol. NICHOLS noted he and HARKRIDER
           did not damage or destroy anything. However, he did state they blocked a
          door with a table and that HARKRIDER took a table leg as a souvenir.

             The interview ended at approximately 1115 hours. NICHOLS was provided
          opportunities for bathroom breaks, given food and water, and the opportunity
          to confer with his attorneys. NICHOLS was returned to Washington, D.C. jail
          at approximately 1234 hours. A copy of all notes, and associated documents
          can be found in the 1A of this document.
